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                                                                                         FILED
                                                                             United States Court of Appeals
                          UNITED STATES COURT OF APPEALS                             Tenth Circuit

                               FOR THE TENTH CIRCUIT                              September 27, 2016
                           _________________________________
                                                                                 Elisabeth A. Shumaker
                                                                                     Clerk of Court
  UNITED STATES OF AMERICA,

        Plaintiff - Appellee,

  v.                                                               No. 16-3285

  FRANKLIN GOODWIN, JR.,

        Defendant - Appellant.
                        _________________________________

                                        ORDER
                           _________________________________

         This matter is before the court on Appellant Franklin Goodwin, Jr.’s Motion to

  Hear Case on a Designated Record, which is construed as a motion to proceed on a

  record on appeal pursuant to 10th Cir. R. 30.3(C). Appellant also offers to designate the

  record on appeal. The motion is unopposed.

         Upon consideration, the motion is granted. Within 7 days from the date of this

  order, Appellant shall file a designation of record in the district court with a copy in this

  court in accordance with 10th Cir. R. 10.2. The clerk of the district court is directed to

  prepare and transmit the record designated by Appellant within 14 days after the

  designation is filed.

         The deadline for Appellant to file his opening brief is VACATED. Appellant’s
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  opening brief and request for a certificate of appealability will be due 30 days after the

  record on appeal is filed in this court.


                                                Entered for the Court
                                                ELISABETH A. SHUMAKER, Clerk




                                                by: Jane K. Castro
                                                    Counsel to the Clerk




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